                      Case: 1:21-cv-01174 Document #: 1 Filed: 02/19/21 Page 1 of 8 PageID #:1


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rCfrT7l                                                                                                             CLERK, U.S.


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                                                                                 Case Number:
                                                                                                      1:21-CV-01174
                                                                                                 JUDGE ELLIS
                                                                                          MAGISTRATE JUDGE CUMMINGS


           Defendant(s).




            1. This is an action for employmentdiscrimination.
            z. rheplaintirr,, Shqro^                              llo ..,S
            county                                                                  in the state o                                  -orthe
                       "
            3. The defendant is
                           aI
            street address      is /)
                                                                                              jtr\\inoiS @ry (d"Ll3
            r"ryl Ch\Colo (countv) COOK-. r,,*"1
            (Defendant' s telephone number)

            4. The plaintiff sought employment or was employed by the defendant at (streetaddress)
                                                                       €id[e                         (cit9

                  (county; C[\AK- frtrt"ljhnr*S (zlPcode)                                      bo6n



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        Case: 1:21-cv-01174 Document #: 1 Filed: 02/19/21 Page 2 of 8 PageID #:2
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5.     The plaintiff lcheck one boxT

       (a) tr       was denied employment by the defendant.

       (b) tr       was hired and is still employed by the defendant.

       (c) E         was employed but is no longer employed by the defendant.

6.     The defendant discriminated against the plaintiff on or about, or beginning on or about,
       (month) A/U{</                  , (day)      14         , gear)       }o\1        .




7.1    (Choose paragraph 7.1 or 7.2, do not complete both.)

       (a) The defendant is not a federal govemmental agency, and theplaintiff
             lcheck one box)Ehas flhas not filed a charge or charges against the defendant

             asserting the acts of discrimination indicated in this complaint with any of the

             following government agencies :

             (i)     EI the United States Equal Employment Opportunity Commission, on orabout

                     (monm; ?e,b                       @afl Yl                (year) 2 s 2o

             (ii) EI the Illinois Department of Human Rights, on or about
                     (montn)      frih                 (dav)       ?--l (yeai 76O4.
       O) If charges were filed with an agency indicated above, a copy of the charge rs
              attached.    E Yes, El No, but plaintiffwill file a copy of the charge within L4 days.

       It is the policy ofboth the Equal Employment Opportunity Commission and the Illinois

       Department of Human Rights to cross-file with the other agency all charges received. The

       plaintiffhas no reason to believe that this policy was not followed in this case.



 7.2   The defendant is a federal governmental agency, and

       (a)      the plaintiff previously filed a Complaint of Employment Discrimination withthe

           [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]

 Rev.04/05/2018
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           Case: 1:21-cv-01174 Document #: 1 Filed: 02/19/21 Page 3 of 8 PageID #:3
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          defendant asserting the acts of discrimination indicated in this court complaint.

                       d Y"r (month)             Fe,b                     @afl 91            (year)

                       E No, did not file Complaint of Employment Discrimination
          o)           The plaintiff received a Final Agency Decision on (month)                            NO/
                       (dareD (vear) ?o20.
          (c)          Attached is a copy of the

                       (i) Complaint of Employment Discrimination,
                                 Yes EI No, but a copy will be filed within 14 days.
                       (ii) Final Agency Decrsron

                            d y",          fl N0, but a copy will be filed within 14 days.

8.        (Complete paragraph 8 only if defendant is not afederal governmental agency.)

          (a) E             the United States Equal Employment Opportunity Commissionhas not

                            issued a Notice of Right to Sue.

          (b) tr the United States Equal Employment Opportunity Commission has issued

                            a Notice of Right to Sue, which was received by the plaintiff on




                            Notice is attached to this complaint.


9.        The defendant discriminated against the plaintiff because of the plaintiff s lcheck only

          those that applyl:

          (a) E eg" (Age Discrimination Employment Act).
          (b) 6 Colo. (Title VII of the Civil Rights Act of 1964 arrd 42U.5.C. $1981).


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          Case: 1:21-cv-01174 Document #: 1 Filed: 02/19/21 Page 4 of 8 PageID #:4
             [f you need additional space for ANY section, please attach an additional sheet and reference that section.]



         (c) tr Disabiiity (Americans with Disabilities Act or Rehabilitation Act)
         (d) E National Origin (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. $1981).
         (e) E Race (Title VII of the Civil Rights Act of 1964 and42 U.S.C. $1981).
         (0 tr Religion (Title VII of the Civil Rights Act of 1964)
         (g) E Sex (Title VII of the Civil Rights Act of 1964)

10.      If the defendant is a state, county, municipal (city, town or village) or other local

         goverlmental agency, plaintiff further alleges discrimination on the basis of race, color, or

         national origin (42 U.S.C. $ 1983).



11.      Jurisdiction over the statutory violation alleged is conferred as follows: for Title VII claims

         by 28 U.S.C. $ 1 33 1, 28 U.S.C. $ I 3a3 (aX3), and 42 U.S.C. $2000e-s(f)( 3); for 42

         U.S.C.$1981 and $1983by 42 U.S.C.$1988; forthe ADAby 42 U.S.C.$12117; forthe

         Rehabilitation Act, 29 U.S.C. $ 791; and for the ADEA, 29 U.S.C. $ 626(c).


1,2.     The defendantlcheck only those that applyl
         (a) tr failed to hire the plaintiff.

         0) d terminated the plaintiff s employment.
         (") tr failed to promote the plaintiff.
         (d) tr failed to reasonably accommodate the plaintiff s religion.

         (e) tr failed to reasonably accommodate the plaintiff s disabilities.

         (0 El failed to stop harassment;
         (e) tr retaliated against the plaintiff because the plaintiff did something to assert rights
                   protected by the laws identified in paragraphs 9 and 10 above;

         (h) tr other (specifu):

             [f you need additional space for ANY section, please attach an additional sheet and reference that section.]
Rev.04/05/2018
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            Case: 1:21-cv-01174 Document #: 1 Filed: 02/19/21 Page 5 of 8 PageID #:5
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13.        The facts supporting the plaintiff s claim of discrimination are as follows:




14. IAGE DISCRIMINATION ONl[Defendantknowingly, U"rti*glb,, *dl{lfrlL
           discriminated against the plaintiff.

15.        The plaintiff demands that the case be tried by a jury.                   tr Yes E No
16.        THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff
           lcheck only those that apply)

           (a) E Direct the defendant to hire the plaintiff.
           (b) E Direct the defendant to re-employ the plaintiff.
           (c)       E Direct the defendant to promote the plaintiff.
           (d) E Direct the defendant to reasonably accommodate the plaintiff s religion.
           (e) E Direct the defendant to reasonably accommodate the plaintiff s disabilities.
           (f)       E Direct the defendant to (speci$z):




               [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]

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          Case: 1:21-cv-01174 Document #: 1 Filed: 02/19/21 Page 6 of 8 PageID #:6




        (e)           n If available, grant the plaintiff appropriate injunctive relief, lost wages,
                           liquidated/double damages, front pay, compensatory damages, punitive
                           damages, prejudgment interest, post-judgment interest, and costs, including
                           reasonable attorney fees and expert witness fees.

         (h)         t Grant such other relief            as the Court may find appropriate.




           Gfty) ch;u?                     a o'u'">Il'                         (zIP)     M1
         (Ptaintiff s telephone number) f-elb -                      A7O        -{A'll
                                                                                      2- 11- 2l
                                                                                    Date:




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Rev.04/05/2018
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              Case: 1:21-cv-01174 Document #: 1 Filed: 02/19/21 Page 7 of 8 PageID #:7
EEOC Form 5 (11/09)

                                                                                                                                  Agency(ies) Charge
                      Cuancr oF DISCRIMINATIoN                                               Charge Presented To:
                                                                                                                                  No(s):
       This form is affected by the Privacy Act of 1974. See enclosed Privacy Act
             Statement and other information before completing this form.                       n        FEPA

                                                                                                tr       EEOC                       440-2020-02069
                                             ILLINOIS DEPARTMENT OF HUMAN RIGHTS                                                                 and EEOC
                                                                State or local
Name (indicate Mr., Ms., Mrs.)                                                                                                                Year of Birth

MISS SHARON E HARRIS                                                                                                                            1959
Street Address                                                          City, State and ZIP Code

PO BOX 377532, CHICAGO, tL 60637

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency
That I Believe Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)
Name                                                                                                     No. Employees, Members             Phone No.

ADDUS HOMECARE                                                                                               101 - 200                (773) 3e6-s600
Street Address                                                          City, State and ZIP Code

2335 W. 95TH ST., CH|CAGO, tL 60643

                                                                                                                                           Phone No



Street Address                                                          City, State and ZIP Code




DISCRIMINATION BASED ON (Check appropriate box(es).)                                                             DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                       Ea rliest            Latest

                                                                                                                  05-15-2019 05-15-20r.9
             RETALTAToN lTl ocr
                                                                                                                                  CONTINUING ACTION

THE PARTICULARS ARE (lfadditional paper is needed, attach extra sheet(s)):
 I began my employment at Respondent on or about May 14, 1999. My most recent posation was
 Homecare Wo*er. On or about May 15, 20L9,1 was discharged.

 I believe I have been discriminated against because of my race, BIack, in violation of Title Vll of the Civil
 Rights Act of L964, as amended.

 ! also believe I have been discriminated against because of my age, 59 (YOB: 1959), in violation of the
 Age Discrimination in Employment Act of 1967, as amended.




I want this charge filed with both the EEOC and the State or local Agency,          NOTARY   - When necessary for State and Loca/ Agency Reguirements
if any. I will advise the agencies if I change my address or phone number
and I will cooperate fully with them in the processing of my charge in
accordance with their orocedures.                                                   I swear or affirm that I have read the above charge and that it
I declare under penalty of perjury that the above is true and correct.              is true to the best of my knowledge, information and belief.
                                                                                    SIGNATURE OF COMPLAINANT



  Digitally signed by Sharon Harris on 02-27-2020 L2:36 PM                          SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                     EST                                            (month, day, yeall
                  Case: 1:21-cv-01174 Document #: 1 Filed: 02/19/21 Page 8 of 8 PageID #:8

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